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                          UNITED STATES DISTRICT COURT
                            DISTRICT OF CONNECTICUT

___________________________________
JUAN MALDONADO,                     )             CIVIL ACTION NO.
     Plaintiff                      )             3:14-CV-01579-VAB
                                    )
v.                                  )
                                    )
LVNV FUNDING, LLC, EXPERIAN         )
INFORMATION SOLUTIONS, INC., AND )
EQUIFAX INFORMATION SERVICES LLC )
     Defendants                     )
__________________________________ )              MARCH 30, 2015



                              STIPULATION OF DISMISSAL

       Pursuant to Fed. R. Civ. P. Rule 41(a)(1)(A)(ii), the plaintiff, Juan Maldonado,

through his attorney, and the defendant, Equifax Information Services, LLC, through

their attorneys, hereby stipulate that the plaintiff’s claims shall be dismissed with

prejudice and without costs or attorney’s fees as to Equifax Information Services LLC.


                                           PLAINTIFF, JUAN MALDONADO

                                           By: /s/ Daniel S. Blinn________
                                                Daniel S. Blinn (ct02188)
                                                dblinn@consumerlawgroup.com
                                                Consumer Law Group, LLC
                                                35 Cold Spring Rd. Suite 512
                                                Rocky Hill, CT 06067
                                                Tel. (860) 571-0408
                                                Fax (860) 571-7457
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                                          DEFENDANT, EQUIFAX INFORMATION
                                          SERVICES LLC

                                          By: /s/ Eric D. Daniels
                                               Eric D. Daniels (ct 01582)
                                               edaniels@rc.com
                                               Robinson & Cole LLP
                                               280 Trumbull Street
                                               Hartford, CT 06103-3597
                                               Tel. (860) 275-8200
                                               Fax (860) 275-8299


                                    CERTIFICATION

        I hereby certify that on this 30th day of March, 2015, a copy of the foregoing was
filed electronically and served by mail on anyone unable to accept electronic filing.
Notice of this filing will be sent by e-mail to all parties by operation of the Court’s
electronic filing system or by mail to anyone unable to accept electronic filing as
indicated on the Notice of Electronic Filing. Parties may access this filing through the
Court’s CM/ECF System.

                                           /s/ Daniel S. Blinn
                                          Daniel S. Blinn




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